        Entered on Docket February 23, 2024                 Below is the Order of the Court.




1                                                           _____________________________
                                                            Marc Barreca
2                                                           U.S. Bankruptcy Judge
                                                            (Dated as of Entered on Docket date above)
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9                            UNITED STATES BANKRUPTCY COURT FOR THE
                                 WESTERN DISTRICT OF WASHINGTON
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11    In re:                                             Case No. 23-11919-MLB

12    HWC BURBS BURGERS, LLC,                           ORDER CONVERTING CHAPTER 11 CASE
                                                        and DENYING CONFIRMATION
13
                                           Debtor.
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               THESE MATTERS came before the Court upon the United States Trustee’s Motion to
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      Convert or Dismiss the Debtor’s Chapter 11 Case (the “Motion”) and for the Confirmation of
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      Debtor’s chapter 11, subchapter V plan, dated January 8, 2024 (the “Plan”). Appearances were
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      as set forth on the record. The Court has reviewed and considered the Motion; the Plan; any and
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      all evidence submitted in support of, and in opposition to, the Motion and Plan; the records and
19    files herein; and the oral argument of counsel, if any.
20             The Court finds that:
21       1. Notice of the Motion was timely and adequate;

22       2. Cause exists, pursuant to § 1112(b), to convert or dismiss this case;

23       3. Conversion is in the best interest of creditors and the estate; and

24       4. Confirmation of Debtor’s chapter 11, subchapter V, plan, dated January 8, 2024, should
          be denied;
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        ORDER                                                                Office of the United States Trustee
                                                                                 700 Stewart Street, Suite 5103
                                                                                       Seattle, WA 98101-1271
                                                                             206-553-2000, 206-553-2566 (fax)

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                In addition to the foregoing, any and all additional findings of fact and conclusions of
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      law orally set forth on the record at the time of the hearing on the Motion and Confirmation of
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      the Plan are adopted and incorporated herein pursuant to Fed.R.Civ.P. 52(a) and Fed.R.Bank.P.
4     7052.
5               Based upon the foregoing, IT IS HEREBY ORDERED THAT:
6           A.          This chapter 11 case is converted to a case under chapter 7 of the Bankruptcy
7     Code;

8           B.          Confirmation of the chapter 11, subchapter V, plan, dated January 8, 2024, is

9     denied;
            C.          The Debtor shall do the following:
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                1.      Immediately turn over to the chapter 7 trustee all records and property of the
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                 estate under the Debtor’s custody and control as required by Bankruptcy Rule 1019(4);
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                2.      Within 30 days of the date of this Order, file an accounting of all receipts and
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                 disbursements made, together with a schedule of all unpaid debts incurred after the
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                 commencement of the chapter 11 case, as required by Bankruptcy Rule 1019(5); and
15              3.      Within 15 days of the date of this Order, file the statements and schedules
16               required by Bankruptcy Rule 1019(1)(A) and 1007(b), if such documents have not
17               already been filed.
18          D.          The Clerk of the Court shall forthwith provide notice of the conversion of this

19    case to the Debtor, all creditors, and other parties in interest.

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                                              ///END OF ORDER///
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      Presented by:
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      GREGORY M. GARVIN
24    Acting United States Trustee for Region 18

25    /s/ Matthew J.P. Johnson
      Matthew J.P. Johnson, WSBA #40476
26    Attorney for United States Trustee

        ORDER                                                              Office of the United States Trustee
                                                                               700 Stewart Street, Suite 5103
                                                                                     Seattle, WA 98101-1271
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